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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

DIANA REYNOLDS and SANDRA HIGH,
individually and on behalf of all others
similarly situated, Case No. 17-cv-00170

Plaintiffs, Hon. John J. Tharp, Jr.

Magistrate Judge Young B. Kim
v.

CHW GROUP, INC., d/b/a Choice Home
Warranty, a New Jersey corporation,

Defendant.

 

 

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Plaintiffs Diana Reynolds (“Reynolds”) and Sandra High (“High”) (collectively
“Plaintiffs”) and Defendant CHW Group, Inc. d/b/a Choice Home Warranty (“Defendant”),
through their counsel, stipulate as follows:

1. Plaintiffs filed this putative class action against Defendant.

2. Fed. R. Civ. P. 41(a)(1)(A)(ii) allows the parties to stipulate to the dismissal of an
action at any time. Fed. R. Civ. P. Rule 23(e) does not limit the parties’ right to stipulate to
dismissal of this action because that Rule applies only to certified classes (or classes proposed to
be certified for purposes of settlement). No class has been certified in this matter, nor is any
class proposed to be certified for purposes of settlement. Likewise, this matter does not involve
any Receiver so as to implicate Fed. R. Civ. P. Rule 66.

Accordingly, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs and Defendant agree

that this action shall be dismissed in its entirety and with prejudice.

 
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Plaintiffs and Defendant further agree that each party is to bear her or its own attorney’s
fees and costs.

Respectfully Submitted,

DIANA REYNOLDS AND SANDRA HIGH,
ehalf of all others similarly

   

Dated: June 10, 2019 By:

 

Patrick H. Peluso

ppeluso@woodrowpeluso.com
Woodrow & Peluso, LLC

3900 East Mexico Ave., Suite 300
Denver, Colorado 80210

Tel.: (720) 213-0675

One of Plaintiffs’ Attorneys

CHW GROUP, INC. d/b/a -hoice Home

 
 
    

Dated: June 10, 2019 By:
ee pO . 6 h (pro hac vice)
/ LP
ich Street
New York, NY 10013
Tel.: (212) 226-2376

Attorneys for Defendant CHW Group, Inc.

 
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CERTIFICATE OF SERVICE
[ hereby certify that on June 10, 2019 I caused the foregoing to be filed with the Court

using the Court’s electronic filing system.

/s/ Patrick H. Peluso

 
